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 1   PETER KMETO
     Attorney at Law
 2   State Bar #78827
     1007 Seventh Street, Suite 100
 3   Sacramento, CA 95814
     (916)444-7420; FAX: (916) 914-2357
 4   email: pkmeto@sbcglobal.net

 5                     IN THE UNITED STATES DISTRICT COURT

 6                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 7   UNITED STATES OF AMERICA,                 Case No. CR-S-13-0206 MCE

                 Plaintiff,
 8
                                               STIPULATION AND ORDER
     vs.
 9                                             CONTINUING JUDGEMENT
                                               AND SENTENCING DATE
     DEYONTE J. SPEARS,
10
                 Defendant
11
                 Defendant: DEYONTE J. SPEARS , through his attorney, PETER
12
     KMETO, and the United States of America, through its counsel of record, JASON
13
     HITT, stipulate and agree to the following:
14
                 The presently scheduled Judgment and Sentencing date of February
15
     5, 2015 shall be vacated as to defendant, DEYONTE J. SPEARS, and said
16
     Hearing be rescheduled for July 23, 2015 at 9:00 a.m..
17
                 IT IS SO STIPULATED.
18
                 Dated: January 28, 2015            /s/ JASON HITT
19                                                 Assistant US Attorney
                                                   for the Government
20

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23
            Case 2:13-cr-00206-DAD Document 76 Filed 02/03/15 Page 2 of 2


 1              Dated: January 28, 2015      /s/ PETER KMETO
                                             Attorney for Defendant
 2                                           DEYONTE J. SPEARS

 3

 4                                     ORDER

 5        IT IS SO ORDERED.

 6   Dated: February 2, 2015

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